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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                IN ADMIRALTY

                                 CASE No.: 20-cv-21696



   SILK ROAD TRADING & SHIPPING CO., LTD.,
   a Foreign Corporation,

         Plaintiff,

   v.

   WORLD FUEL SERVICES (SINGAPORE) PTE
   LTD., a Foreign Corporation, WORLD FUEL
   SERVICES TRADING DMCC, a Foreign Corporation,
   and WORLD FUEL SERVICES CORPORATION
   d/b/a WORLD FUEL SERVICES MARINE GROUP
   OF COMPANIES, a Florida Corporation.

         Defendants.


                 STIPULATION      FOR   DISMISSAL    WI T H P RE JU D I CE


        The Parties hereto have amicably resolved their dispute, and they hereby agree

  and stipulate to the dismissal of this case and all claims therein, with prejudice. The

  Parties also agree they will each bear and be responsible for their own attorneys’ fees

  and costs. A proposed order for dismissal with prejudice is attached.


                       Respectfully Submitted,




                      Hamilton, Miller & Birthisel, LLP
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